Case 2:03-cV-02953-.]DB-tmp Document 40 Filed 06/07/05 Page 1 of 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

TAMI BICKFORD, NEXT FRIEND
OF DAVID MICHAEL SPOON,

Plaintiffs,

vs. No. 03 2953 BP
LAUDERDALE COUNTY, TENNESSEE,
LAUDERDALE COUNTY SCHOOL

SYSTEM JIMMY DOUGLAS,

TODD WHITE, PHILLIP MORR]S,

LAUDERDALE COUNTY SHERIFF’ S DEPARTMENT,
LAUDERDALE COUNTY JUVENILE COURT, CITY
OF RlPLEY POLICE DEPARTMENT AND

JOHN DOES l- 10

Defendants.

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ORDER TO EXTEND DEADLINE TO FILE
PLAINTIFF’S PROPOSED PRE-TRIAL ORDER

 

FOR GOOD CAUSE having been shown, it is hereby ordered that the due date to

file Plaintiff’ s Proposed Pre-Trial Order is hereby extended for two (2) days through June

8, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:03-CV-02953 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

 

 

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Case 2:03-cV-02953-.]DB-tmp Document 40 Filed 06/07/05 Page 3 of 3 Page|D 57

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Honorable .1. Breen
US DISTRICT COURT

